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WILLIAM EARL HmILTon

Sheriff and Tax Collector ~ Rapides Parish

 

December 10, 2018

Deputy Jerry McKinney
Rapides Parish Sheriff's Office
701 Murray Street, Suite 301
Alexandria, LA 71301

RE: Request for Alternative Assignment
Dear Deputy McKinney:
In reference to your letter dated December 5, 2018, your current,job assignment is that of

a correctional officer assigned to Detention Center 3. The duty hours for a correctional officer
are “12 hour” shifts. Wé do not have “8 hour” shifts for correctional officers.

You have served this department and this community well for over 20 years, and
although we are very sympathetic to you situations, there are no other positions available in the
department for which you are qualified, and we feel it is time for you to retire.

Sincerely,

2D dues, tbe

William E. Hilton
Sheriff

WEH/dm

701 Murray Street { Post Office Box 1510 | Alexandria, Louisiana 71309
Phone 318.473.6700 | Fax: 318.449.5455 | www.rpso.org

 

 

 
